                Case 1:19-cv-00653-WFK-SMG Document 1-2 Filed 02/01/19 Page 1 of 2 PageID #: 19

    JS 44 (Rev. 11/15)
                                                                                 CIVIL COVER SHEET
    The ~S 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

    I. (a) PLAINTIFFS                                                                                                DEFENDANTS
          ARYEH COHEN                                                                                              AMERICAN AIRLINES, INC., AMERICAN AIRLINES GROUP, INC.,
                                                                                                                   JOHN DOES 1-5 and JANE DOES 1-5
        (b) County of Residence of First Listed Plaintiff                 _N_E
                                                                             _W__Y_O
                                                                                   _R_K______                       County of Residence of First Listed Defendant TARRANT COUNTY
                                        (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (JN U.S. PLAINTIFF CASES ONLY)
                                                                                                                     NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                               THE TRACT OF LAND INVOLVED.

        ( c) Attorneys (Firm Name,        Address, and Telephone Number)                                              Attorneys (If Known)
                                                                                                                   Rutherford & Christie, LLP., 800 Third Avenue, 9th Floor, New York,
      ARYEH COHEN, PRO SE, P.O. BOX 20112, NEW YORK, NEW                                                           New York 10022, (212) 599-5799
    YORK 10001, (34 7) 4 7 4-9579

    II. BASIS OF JURISDICTION (Placean                            "X"inOneBoxOnlyJ                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                          "X" in One Box/or Plain1iff
                                                                                                                (For Diversify Cases Only)                                              and One Box for Defendant)
    0 1 U.S. Government                      ~3     Federal Question                                                                      PTF           DEF                                             PTF      DEF
                Plaintiff                             (U.S. Government Not a Party)                        Citizen of This State          0 1            0         Incorporated or Principal Place       0 4     0 4
                                                                                                                                                                     of Business In This State

    0 2       U.S. Government                0 4    Diversity                                              Citizen of Another State          0 2         0     2   Incorporated and Principal Place     0   5    0 5
                 Defendant                            (Indicate Citizenship of Parties in Item Ill)                                                                   of Business In Another State

                                                                                                           Citizen or Subject ofa            0 3         0     3   Foreign Nation                       0   6    0 6
                                                                                                             Forei n Coun
    IV. NATURE OF SUIT (Place an                        "X" in One Box Only)
I         CONTRACT                                             t      TORTS
                       "'                                                                                      FORFEITURE/PENALTY                            BANKRUPTCY                     ' OTHER STATUTES              I
    0   110  Insurance                        PERSONAL INJURY               PERSONAL INJURY                0 625 Drug Related Seizure              0 422 Appeal 28 USC 158             0 375 False Claims Act
    0   120  Marine                         0 3 10 Airplane               0 365 Personal Injury -                  of Property 21USC881            0 423 Withdrawal                    0 376 Qui Tam (31 USC
    0   130  Miller Act                     0 3 I 5 Airplane Product             Product Liability         0 690 Other                                       28 USC 157                        3729(a))
    0   140  Negotiable Instrument                   Liability            0 367 Health Care/                                                                                           0   400 State Reapportionment
    0   150  Recovery of Overpayment        0 320 Assault, Libel &              Pharmaceutical                                                         PROPERTY RIGHTS                 0   410 Antitrust
             & Enforcement of Judgment               Slander                    Personal Injury                                                    0 820 Copyrights                    0   430 Banks and Banking
    0   15 I Medicare Act                   0 330 Federal Employers'            Product Liabi li ty                                                0 830 Patent                        0   450 Commerce
    0   152 Recovery of Defaulted                    Liability            0 368 Asbestos Personal                                                  0 840 Trademark                     0   460 Deportation
             Student Loans                  0 340 Marine                         Injury Product                                                                                        0   470 Racketeer Influenced and
                                                                                                                                                                                 ,,
             (Excludes Veterans)            0 345 Marine Product                 Liability                              LABOR                          ~"'' IAL . ~E'''TDITY                   Corrupt Organizations
    0   153 Recovery of Overpayment                  Liability             PERSONAL PROPERTY               0 710 Fair Labor Standards              0   861   HIA(l395ft)               0   480 Consumer Credit
             of Veteran's Benefits          0 350 Motor Vehicle           0 370 Other Fraud                         Act                            0   862   Black Lung (923)          0   490 Cable/Sat TV
    0   160 Stockholders' Suits             0 355 Motor Vehicle           0 371 Truth in Lending           0   720 Labor/Management                0   863   DIWC/DIWW (405(g))        0   850 Securities/Commodities/
    0   190 Other Contract                          Product Liability     0 380 Other Personal                      Relations                      0   864   SSID Title XVI                     Exchange
    0   195 Contract Product Liability      ~ 360 Other Personal                Property Damage            0   740 Railway Labor Act               0   865   RSI (405(g))              0   890 Other Statutory Actions
    0   196 Franchise                               Injury                0 385 Property Damage            0   751 Fan1ily and Medical                                                 0   891 Agricultural Acts
                                            0 362 Personal Injury -             Product Liability                   Leave Act                                                          0   893 Environmental Matters
                                                    Medical Malpractice                                    0   790 Other Labor Litigation                                              0   895 Freedom oflnformation
I         " REAL PROPERTY                       CIVIL RIGHTS          '"· PRISONER PETITIONS               0   791 Employee Retirement             '" FEDERAL TAX SUITS                        Act
0       210 Land Condemnation               0 440 Other Civil Rights        Habeas Corpus:                         Income Security Act             0 870 Taxes (U.S. Plaintiff         0   896 Arbitration
0       220 Foreclosure                     0 441 Voting                  0 463 Alien Detainee                                                           or Defendant)                 0   899 Administrative Procedure
0       230 Rent Lease & Ejectment          0 442 Employment              0 510 Motions to Vacate                                                  0 871 IRS-Third Party                       Act/Review or Appeal of
0       240 Torts to Land                   0 443 Housing/                      Sentence                                                                 26 USC 7609                           Agency Decision
0       245 Tort Product Liability                  Accommodations        0 530 General                                                                                                0   950 Constitutionality of
0       290 All Other Real Property         0 445 Amer. w/Disabilities - 0 535 Death Penalty                     IMMIGRATION                                                                   State Statutes
                                                    Employment              Other:                         0 462 Naturalization Application
                                            0 446 Amer. w/Disabilities - 0 540 Mandamus & Other            0 465 Other Immigration
                                                   Other                  0 550 Civil Rights                     Actions
                                            0 448 Education               0 555 Prison Condition
                                                                          0 560 Civil Detainee -
                                                                                Conditions of
                                                                                Confinement

V. ORIGIN                   (Place an "X" in One Box Only)
0 I Original                     ~2 Removed from                 0    3   Remanded from               0 4 Reinstated or       0 5 Transferred from                 0 6 Multidistrict
    Proceeding                      State Court                           Appellate Court                  Reopened               Another District                     Litigation
                                                                                                                                      (.1pecijj~

                                                Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity) :
                                                   28   u.s.c. §1331
VI. CAUSE OF ACTION                            1-B-r-ie_f_d-es-c-ri-pt_;io:;..n_o_f_c_au-s-e:- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                 Plaintiff seeks damages for personal injuries due to the alleged negligence of the Defendants.
VII. REQUESTED IN     0                              CHECK IF THIS IS A CLASS ACTION                           DEMAND$                                         CHECK YES only if demanded in complaint:
     COMPLAINT:                                      UNDER RULE 23, F.R.Cv .P.                                                                                 JURY DEMAND:         0 Yes     0 No
VIII. RELATED CASE(S)
                                                   (See instructions) :
      IF ANY                                                               JUDGE
DATE                                                                           SIGNATURE OF ATTORNEY OF RECORD
    02/01/2019                                                                David S. Rutherford, Esq.
FOR OFFICE USE ONLY

        RECEIPT #                       AMOUNT                                     APPL YING IFP                                    JUDGE                                  MAG. JUDGE
      Case 1:19-cv-00653-WFK-SMG Document 1-2 Filed 02/01/19 Page 2 of 2 PageID #: 20
                                                CERTIFICATION OF ARBITRATION ELIGIBILITY
Loca l Arbitration Ru le 83 .10 provides that with certain exceptions, actions seeking money damages on ly in an amount not in excess of $150,000,
excl usive of interest and costs, are eli gi ble for compul sory arbitration. The amount of damages is presumed to be below the threshold amount unless a
ce rti fication to the contrary is fi led.

Case is Eligible for Arbitration     D
I, _ _ _ _ _ _ _ _ _ __ _ __ _ _ , counse l for _ _ _ _ __ _ _ _ _ _ , do hereby certify that the above captioned ci vil action is ineli gibl e for
compulsory arbitration for the follo wing reason(s):

        D                monetary damages sought are in excess of $150 ,000 , exclusive of interest and costs ,

        D                the complaint seeks injunctive relief,

        D                the matter is otherwise ineligible for the following reason


                                   DISCLOSURE STATEMENT- FEDERAL RULES CIVIL PROCEDURE 7.1
                                    Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

 See Rule 7.1 Disclosure Statement



                                    RELATED CASE STATEMENT (Section VIII on the Front of this Form)
Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form . Rule 50.3.1 (a) provides that "A civil case is "related"
to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events , a
substantial saving of judicial resources is likely to result from assigning both cases to the same judge and magistrate judge." Rule 50 .3.1 (b) provides that " A civil case shall not be
deemed "related" to another civil case merely because the civil case: (A) involves identical legal issues, or (8) involves the same parties." Rule 50 .3.1 (c) further provides that
"Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be "related " unless both cases are still
pending before the court."

                                                            NY-E DIVISION OF BUSINESS RULE 50.1(d)(2)


1.)         Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
            County?                     D
                                        Yes               No     IZJ
2.)         If you answered "no" above :
            a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
            County?                 Yes D      [Z) No
            b) Did the events or omissions givi'la_rise to the claim or claims, or a substantial part thereof, occur in the Eastern
            District?               Yes D       l:lJ No
            c) If this is a Fair Debt Collection Practi ce Act case, specify the County in which the offe nding communication was
            received:


Suffolk County, or, in
Suffolk County?
                             a
If your answer to question 2 (b) is "No," does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
                          inteq~leader ~on , does the claimant (or a majority of the claimants , if there is more than one) reside in Nassau or
                              Yes               No
          (Note : A corporation shall be considered a resident of the County in which it has the most significant contacts) .

                                                                                         BAR ADMISSION

            I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.

                                                              Yes                                               D          No

            Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

                                          D                   Yes       (If yes, please explain                            No




                                                                                                                                                                        Last Modified : 11 /27/20 17
